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  EXHIBIT A
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                                 Tanner, et at. v. TPUSA, Inc.
                                 CaseNo.l:12-CV-00033-WLS

                       ATTORNEYS' FEES AND COSTS AGREEMENT


       On December 3, 2015, the Hon. Thomas Langstaff, Magistrate Judge of the United States

District Court for the Middle District of Georgia, facilitated an arms' length mediation between

the parties and their authorized counsel with respect to the remaining named plaintiffs in the

above-captioned action: Elena Evens, Latoya Ford, Calandra Haywood, Jessica Hermanson,

Jolanda Lassiter, Wendy Miiner, Tiffany Molden, Thomas Dupre and Brady Tanner ("remaining

plaintiffs"). TPUSA, Inc. and the remaining plaintiffs therein agreed to resolve bona fide wage

disputes by paying the remaining plaintiffs amounts referenced in correspondence submitted to

the Middle District of Georgia by TPUSA on November 19, 2015, in exchange for the dismissal

with prejudice of each such individual's cl~ims and the execution of a complete release of claims

by each remaining plaintiff.

        During the mediation, the parties also agreed that TPUSA would pay the remaining

plaintiffs' attorneys' fees and costs in an amount totaling $162,000 (One Hundred Sixty Two

Thousand Dollars), such amounts reflecting $78,000 in actual costs and $84,000 in attorneys'

fees. The payment of the fees and costs will constitute the full and final amount to be paid to

plaintiffs' counsel in connection with the representation of the remaining plaintiffs in the matter

identified as Case No. I: 12-CV-00033-WLS. A check in the amount of$162,000 (One Hundred

Sixty Two-Thousand) shall be made payable to Blau Leonard Law Group, LLC, not later than 30

days after all dismissals with prejudice related to all of the remaining plaintiffs are approved by

the Court. No other monies shall be paid by TPUSA to the remaining plaintiffs or their counsel

in connection with such case.



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          Case 1:12-cv-00033-WLS Document 216-1 Filed 01/05/16 Page 3 of 4




          This Agreement may be executed in counterparts,

          Agreed to this __ day of December, 2015, and executed in (City)_ _ _ _ __,

(State) _ _ _ __


                                             Steven Bennett Blau
                                             Blau Leonard Law Group, LLC


          Agreed to this'3f-day of December, 2015, and executed in   (City~]~,p,
(State)    0-tJ           .
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                                             Paul Hastings LLP




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          This Agreement may be executed in cow1terparts.

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(State)   _Qit.... ~-··
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                                             Paul Hastings LLP


          Agreed to this __ day of December, 20!5, and executed in (City) _ _ _ _ __

(State)--·----


                                              John Warren May
                                              TPUSA, Inc..




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